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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA


 IN RE: ZANTAC (RANITIDINE)                                                     MDL NO. 2924
 PRODUCTS LIABILITY                                                              20-MD-2924
 LITIGATION
                                                      JUDGE ROBIN L. ROSENBERG
                                             MAGISTRATE JUDGE BRUCE E. REINHART

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 THIS DOCUMENT RELATES TO:

         20-cv-82113-RLR
         20-cv-82123-RLR
         20-cv-82028-RLR
         21-cv-80522-RLR
         21-cv-80755-RLR
         20-cv-80349-RLR
         21-cv-80286-RLR

                           ORDER DECONSOLIDATING CASES

         This matter comes before the Court on the Notices of Voluntary Dismissal filed for the

 above-referenced cases. In light of the fact that these cases have been dismissed, it is ORDERED

 AND ADJUDGED that:

         1. The above-reference cases are DECONSOLIDATED from MDL proceeding

            20-MD-2924.

         2. The above-reference cases shall remain CLOSED.

         DONE and ORDERED in Chambers, West Palm Beach, Florida, this 20th day of August,

 2021.


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                                                    ROBIN L. ROSENBERG
                                                    UNITED STATES DISTRICT JUDGE
